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                          SUPPLEMENTAL MINUTE BOOK
                         UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF LOUISIANA
                             SHREVEPORT DIVISION

Court convened at 3:30 p.m. on November 13, 2019, and recessed at 3:40 p.m.

PRESENT:      Mark L. Hornsby, Magistrate Judge, Presiding
              Jill Keller, Minute Clerk
              Recorded: Liberty Court Recorder CR3
              Time in Court: 10 minutes

                        5:18-SM-00300 GRAND JURY REPORT

 X Partial Report
 X Warrants/summons ordered issued as indicated.

                                  OPEN INDICTMENTS

CASE NUMBER                             WARRANT                        SUMMONS

3:19-cr-00350-01***                       X/WRIT

3:19-cr-00351-01***                       X/WRIT

5:19-cr-00349-01                                                              X

5:19-cr-00349-02                                                              X

5:19-cr-00352-01***                       X/WRIT

5:19-cr-00353-01***                       X/WRIT


                                 SEALED INDICTMENTS


5:19-cr-00354-01                             X

5:19-cr-00354-02                             X



  * In Federal Custody
 ** Superseding Indictment
*** State Custody
